                Case 3:23-cv-00894-AR      Document 9   Filed 07/28/23   Page 1 of 11




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                                    UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                         PORTLAND DIVISION

L.H.,                                              No.: 3:23-cv-00894-AR

                       Plaintiff,                  ANSWER, AFFIRMATIVE DEFENSES,
                                                   AND COUNTERCLAIM
           v.

REGENCE BLUECROSS BLUESHIELD OF
OREGON,

                       Defendant.



           Defendant Regence BlueCross BlueShield of Oregon (“Defendant”), by and through its

undersigned counsel, hereby respectfully submits this Answer, Affirmative Defenses, and

Counterclaim to Plaintiff’s Complaint:

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///




Page 1 –         ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIM

120361485.8 0027496-00175
            Case 3:23-cv-00894-AR         Document 9      Filed 07/28/23     Page 2 of 11




                                              PARTIES

                                                   1.

           Answering paragraph 1, Defendant is without sufficient information to admit or deny the

allegations and therefore denies the same.

                                                   2.

           Answering paragraph 2, Defendant admits that Defendant is a health insurer

headquartered in Multnomah County, Oregon, and serves residents in Oregon and southwest

Washington. The remainder of paragraph 2 states legal conclusions to which no response is

required. To the extent a response is deemed to be required, Defendant states that it answers

benefits questions from members, adjudicates benefit claims consistent with its medical policies

and relevant legal requirements, and pays claims consistent with coverage under its policies.

Defendant further states that the Employee Retirement Income Security Act of 1974, 29 U.S.C.

§ 1001, et seq. (“ERISA”) speaks for itself and is the best evidence of its content.

                                   JURISDICTION AND VENUE

                                                   3.

           Paragraph 3 states legal conclusions to which no response is required. To the extent a

response is deemed to be required, Defendant admits that Plaintiff alleges that jurisdiction is

proper in this Court under ERISA, 29 U.S.C. § 1001, et seq., 29 U.S.C. § 1132(a)(1)(B), (3), and

(e)(1). Defendant states that the ERISA sections to which Plaintiff cites speak for themselves

and are the best evidence of their content.

                                                   4.

           Paragraph 4 states legal conclusions to which no response is required. To the extent a

response is deemed to be required, Defendant admits that Plaintiff alleges venue is proper under


Page 2 –      ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIM

120361485.8 0027496-00175
            Case 3:23-cv-00894-AR         Document 9       Filed 07/28/23     Page 3 of 11




29 U.S.C. § 1132(e)(2) because, inter alia, Defendant resides in this district. Defendant states

that 29 U.S.C. § 1132(e)(2) speaks for itself and is the best evidence of its content.

                                                   5.

           Answering paragraph 5, Defendant is without sufficient information to admit or deny the

allegations and therefore denies the same.

                                      NATURE OF THE CASE

                                                   6.

           The first sentence of paragraph 6 states legal conclusions to which no response is

required. To the extent a response is deemed to be required and further answering this

paragraph, Defendant admits that it denied Plaintiff’s Preauthorization Request (as defined in

paragraph 14 below) under the Regence Platinum 250 Medical Plan (the “Plan”) but denies that

its coverage decision was in any way improper or unlawful. Defendant denies all remaining

allegations in paragraph 6.

                                                   7.

           Answering paragraph 7, Defendant admits that it denied Plaintiff’s Preauthorization

Request (as defined in paragraph 14 below) under the Plan but denies that its coverage decision

was in any way erroneous. Defendant’s Coverage Decision (as defined in paragraph 14 below)

speaks for itself and is the best evidence of its content. Defendant denies all remaining

allegations in paragraph 7.

                                                   8.

           Answering paragraph 8, Defendant admits that Plaintiff wrote to Defendant regarding its

coverage decision. Defendant states that Plaintiff’s correspondence speaks for itself and is the

best evidence of its content. Defendant denies the remaining allegations in paragraph 8.


Page 3 –      ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIM

120361485.8 0027496-00175
            Case 3:23-cv-00894-AR          Document 9     Filed 07/28/23     Page 4 of 11




                                                   9.

           Answering paragraph 9, Defendant states that Defendant’s letter dated March 16, 2023,

responding to Plaintiff’s correspondence speaks for itself and is the best evidence of its content.

Defendant denies all remaining allegations in paragraph 9.

                                                  10.

           Answering paragraph 10, deny.

                                     STATEMENT OF FACTS

                                                  11.

           Paragraph 11 states legal conclusions to which no response is required. To the extent a

response is deemed to be required, Defendant states that the Plan speaks for itself and is the best

evidence of its content. Defendant denies the remaining allegations in paragraph 11.

                                                  12.

           Paragraph 12 states legal conclusions to which no response is required. To the extent a

response is deemed to be required, Defendant states that the Plan speaks for itself and is the best

evidence of its content. Defendant denies the remaining allegations in paragraph 12.

                                                  13.

           Answering paragraph 13, Defendant is without sufficient information to admit or deny

the allegations and therefore denies the same.

                                                  14.

           Answering the first sentence of paragraph 14, Defendant admits that, on or about

April 23, 2021, it received a request for preauthorization on behalf of Plaintiff for treatment at

Vista Sage (“Preauthorization Request”). Defendant states that the Preauthorization Request

speaks for itself and is the best evidence of its content. Answering the second sentence of


Page 4 –      ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIM

120361485.8 0027496-00175
            Case 3:23-cv-00894-AR        Document 9      Filed 07/28/23     Page 5 of 11




paragraph 14, Defendant states that it denied the Preauthorization Request by letter dated

April 29, 2021 (the “Coverage Decision”). Defendant states that the Coverage Decision speaks

for itself and is the best evidence of its content. Defendant denies all remaining allegations in

paragraph 14.

                                                 15.

           Answering paragraph 15, Defendant admits that, on or about March 13, 2023, Plaintiff

submitted to Defendant correspondence purporting to appeal Regence’s Coverage Decision (the

“March 13 Submission”). Defendant states that the purported March 13 Submission speaks for

itself and is the best evidence of its content. Defendant denies all remaining allegations in

paragraph 15.

                                                 16.

           Answering paragraph 16, Defendant admits that it responded to the March 13 Submission

by letter dated March 16, 2023 (“March 16 Letter”). Defendant states that the March 16 Letter

speaks for itself and is the best evidence of its content. Defendant denies all remaining

allegations in paragraph 16.

                                                 17.

           Answering paragraph 17, Defendant admits that Plaintiff, through counsel, responded to

the March 16 Letter by letter dated March 29, 2023 (“March 29 Letter”). Defendant states that

the March 29 Letter speaks for itself and is the best evidence of its content. Defendant denies all

remaining allegations in paragraph 17.

                                                 18.

           Answering paragraph 16, Defendant admits that it responded to Plaintiff’s March 29

Letter by letter dated April 5, 2023 (the “April 5 Letter”). Defendant states that the April 5


Page 5 –      ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIM

120361485.8 0027496-00175
            Case 3:23-cv-00894-AR          Document 9     Filed 07/28/23     Page 6 of 11




Letter speaks for itself and is the best evidence of its content. Defendant denies all remaining

allegations in paragraph 18.

                                                  19.

           Paragraph 19 states legal conclusions to which no response is required. To the extent a

response is deemed to be required, Defendant denies the allegations in paragraph 19.

                                               CLAIMS

                                            FIRST CLAIM

                       FOR BENEFITS AND ENFORCEMENT OF RIGHTS
                      UNDER ERISA § 502(A)(1)(B), 29 U.S.C. § 1132 (A)(1)(B)

                                                  20.

           Answering paragraph 20, Defendant realleges all previous responses as if fully set forth

herein.

                                                  21.

           Answering paragraph 21, deny.

                                                  22.

           Answering paragraph 22, deny.

                                                  23.

           Answering paragraph 23, deny.

                                          SECOND CLAIM

                        FOR BENEFITS AND ENFORCEMENT OF RIGHTS
                         UNDER ERISA § 502(A)(3), 29 U.S.C. § 1132 (A)(3)

                                                  24.

           Answering paragraph 24, Defendant realleges all previous responses as if fully set forth

herein.



Page 6 –      ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIM

120361485.8 0027496-00175
             Case 3:23-cv-00894-AR         Document 9       Filed 07/28/23     Page 7 of 11




                                                    25.

           Answering paragraph 25, Defendant states that ERISA § 502(a)(3), 29 U.S.C. § 1132

(a)(3), and ERISA § 502(a)(1)(B), 29 U.S.C. § 1132 (a)(1)(B), speak for themselves and are the

best evidence of their content. Defendant denies the remaining allegations in paragraph 25.

                                            THIRD CLAIM

                                FOR ATTORNEY FEES AND COSTS
                            UNDER ERISA § 502(G)(1), 29 U.S.C. § 1132 (G)(1)

                                                    26.

           Answering paragraph 26, Defendant realleges all previous responses as if fully set forth

herein.

                                                    27.

           Answering paragraph 27, deny.

                                RESPONSE TO PRAYER FOR RELIEF

                                                    28.

           Defendant denies that Plaintiff is entitled to any damages or other relief against

Defendant as set forth in Plaintiff’s prayer for relief.

                                      AFFIRMATIVE DEFENSES

                                                    29.

           Defendant alleges the following as separate affirmative defenses, without assuming the

burden of proof where such burden is otherwise on Plaintiff. Defendant does not knowingly or

voluntarily waive any additional applicable affirmative defenses and reserves the right to assert

and rely on such other applicable affirmative defenses as they may become available or apparent

during the course of the proceedings.




Page 7 –      ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIM

120361485.8 0027496-00175
             Case 3:23-cv-00894-AR          Document 9        Filed 07/28/23     Page 8 of 11




                                  FIRST AFFIRMATIVE DEFENSE

                                    (Failure to State Ultimate Facts)

                                                     30.

           Plaintiff’s Complaint fails to state ultimate facts sufficient to constitute a claim.

                                 SECOND AFFIRMATIVE DEFENSE

                                         (Conditions Precedent)

                                                     31.

           Plaintiff’s claims are barred, in whole or in part, because Plaintiff failed to comply with

necessary conditions precedent required under the Plan.

                                  THIRD AFFIRMATIVE DEFENSE

                            (Failure to Exhaust Administrative Remedies)

                                                     32.

           Plaintiff’s claims are barred, in whole or in part, because Plaintiff failed to comply with,

and exhaust, the claims procedure as required under the Plan and/or any other applicable statute,

rule, or regulation.

                                FOURTH AFFIRMATIVE DEFENSE

                                              (No Coverage)

                                                     33.

           Plaintiff’s claims are barred, in whole or in part, because the Plan does not provide

coverage for Plaintiff’s claim, including, without limitation, for the reasons set forth in the

Coverage Decision.

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Page 8 –       ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIM

120361485.8 0027496-00175
             Case 3:23-cv-00894-AR          Document 9        Filed 07/28/23     Page 9 of 11




                                  FIFTH AFFIRMATIVE DEFENSE

                                           (Failure to Tender)

                                                     34.

           Plaintiff’s claims are barred, in whole or in part, because Plaintiff, or a third party acting

on Plaintiff’s behalf, at Plaintiff’s direction, or for Plaintiff’s benefit, including, without

limitation, Vista Sage, failed to properly submit a claim for the coverage or reimbursement under

the Plan. To date, Defendant has received no claims from Vista Sage; no evidence of cost of

treatment; and no evidence or proof of billing to, or payment by, Plaintiff.

                                  SIXTH AFFIRMATIVE DEFENSE

                              (Contractual Limitations/Untimely Appeal)

                                                     35.

           Plaintiff’s claims are barred, in whole or in part, because Plaintiff failed to timely appeal

the denial of coverage within the time period allowed under the Plan and applicable statutes,

rules, and regulations.

                                SEVENTH AFFIRMATIVE DEFENSE

                                             (Unclean Hands)

                                                     36.

           Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean hands.

                                 EIGHTH AFFIRMATIVE DEFENSE

                                                 (Estoppel)

                                                     37.

           Plaintiff’s claims are barred, in whole or in part, by the doctrine of estoppel.




Page 9 –      ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIM

120361485.8 0027496-00175
            Case 3:23-cv-00894-AR        Document 9        Filed 07/28/23     Page 10 of 11




                                NINTH AFFIRMATIVE DEFENSE

                                               (Waiver)

                                                   38.

         Plaintiff’s claims are barred, in whole or in part, by the doctrine of waiver.

                               TENTH AFFIRMATIVE DEFENSE

                                  (Third-Party Action or Inaction)

                                                   39.

         Plaintiff’s claims are barred, in whole or in part, by the action or inaction of third parties

over which Defendant had no control, including, without limitation, Vista Sage.

                             ELEVENTH AFFIRMATIVE DEFENSE

                                               (Laches)

                                                   40.

         Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches.

                             TWELFTH AFFIRMATIVE DEFENSE

                                       (Reservation of Rights)

                                                   41.

         Defendant further reserves any affirmative defenses available to it now existing, or later

arising, as may be identified or discovered throughout this litigation.

                                         COUNTERCLAIM

                                            (Attorney Fees)

                                                   1.

         Defendant realleges all previous responses as if fully set forth herein.

                                                   2.



Page 10 –     ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIM

120361485.8 0027496-00175
            Case 3:23-cv-00894-AR        Document 9       Filed 07/28/23     Page 11 of 11




         To the extent allowed under ERISA § 302(g)(1), 29 U.S.C. § 1132(g)(1), Defendant

seeks recovery of its attorney fees and costs.

                                               PRAYER

         WHEREFORE, Defendant prays for relief as follows:

         A.       For dismissal of the Complaint with prejudice;

         B.       For award of Defendant’s attorney fees and costs pursuant to ERISA § 302(g)(1),

29 U.S.C. § 1132(g)(1); and

         C.       For such other and further relief as the Court deems equitable and just.

         DATED: July 28, 2023                        STOEL RIVES LLP



                                                     s/ Brad S. Daniels
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Page 11 –     ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIM

120361485.8 0027496-00175
